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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  CARMEN JOHN PERRI                      CASE NO.
                                         2:20−cv−07533−DSF−PLA
               Plaintiff(s),
        v.                         Order to Show Cause re
  BOTTATI ENTERPRISES, LLC, et al. Dismissal for Lack of
                                   Prosecution
           Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
        In this case, Bottati Enterprises, LLC failed to plead or otherwise defend
     within the relevant time. The Court orders plaintiff to show cause in writing
     on or before October 16, 2020 why the claims against the non-appearing
     defendant(s) should not be dismissed for lack of prosecution. Failure to
     respond to this Order may result in sanctions, including dismissal for failure
     to prosecute.

       IT IS SO ORDERED.

  Date: October 2, 2020                       /s/ Dale S. Fischer
                                             Dale S. Fischer
                                             United States District Judge
